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Jaleroige An Increasing National Threat

As [ train around the country in each class I conduct an informal poll as to the
controlled substance issues they have and more specifically the single most growing
threat to their jurisdictions, Not surprisingly, Marijuana is always a major player in
all areas followed by either Meth or Cocaine depending on the region of the country.
The other common denominator is throughout east of the Mississippi, West Coast
and southern states, Heroin is the single fastest growing threat in the country.

Even though the source country of Heroin means nothing to the charges, I also
asked what country they believe their Heroin is coming from? More common than
not the answer comes back Afghanistan. This is most likely not the case. There are
three regions of the world that produce Heroin: Afghanistan, Colombia and Mexico
(Central America). The largest percentage of Heroin seen in the United States
today is coming from our southern trafficking areas, either Mexican or Colombian
product.

It's true that Afghanistan produces by far the highest percentage of Heroin. However,
the majority of their product either remains in Asia or is shipped to Britain, Europe,
Africa or Australia. Only a small percentage of their overall production is routed to
the United States. In contrast, a very high percentage of the Colombian production
and virtually all of the Mexican Heroin comes directly into the United States.

Narcotics officers from years ago will remember the low purity percentages we
saw in Heroin. Most commonly these percentages were in the mid-single digit
area. These purities required the substance to be injected to get the required
bump. However, today the purity has completely changed. The Heroin purity
were commonly seeing has greatly increased which now allows the substance to
be either snorted or smoked. These new methods of ingestion have opened up a

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much wider pool of potential users. The controlled prescription drug abusers that
were using Oxycontin® (prior to the reconfiguration with the coating) and became
opiate dependent now have an alternate product they can use without the phobia of
injection.

If the threat of increased purity of Heroin is not enough, jurisdictions are also seeing
a huge increase in Heroin overdoses. Some of these are certainly from old time
injection users using heroin with the new purity and not being able to handle it. A
larger percentage of these overdose deaths are coming from unsuspecting users not
being aware that Fentanyl (or acetyl-fentanyl) are being cut into, or substituted for
the product.

The Fentanyl issue raises a huge safety issue that all law enforcement needs to know.
Fentanyl is considered to be up to 80 times the strength of Morphine. A very small
amount of this substance can cause serious health issues even leading to death.
Officers should be aware that field testing any suspected Heroin should always be
done with NITRILE GLOVES (#SF0078, #SF0081, #SF0084). Nitrile gloves offer
much higher protection than their standard latex cousins. After completing the field

test, remove the gloves and wash your hands thoroughly. Both Heroin and Fentanyl
are water soluble.

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This leads us to field testing the substance. Sirchie have two field tests designed for RESALE

opiates; SL ware 0
Mecke's Reagent (#NARK2001 1 — pouch; #NAR10016 — tube) designed to aus ne Re
presumptively identify the semi-synthetic opiate of Heroin and Morphine CTSA CoC Mi

Special Opiates Reagent (#NARK20010 — pouch; #NAR10022 — tube}
designed to presumptively identify fully synthetic opiates: Oxycodone,
Hydrocodone, Fentanyl (acetyl-Fentanyl — analog of Fentanyl), Buprenorphine

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(Suboxone®/Subutex®), Desomorphine (Krokodil) and Zohydro

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If your probable cause indicates Heroin, always start with the Mecke’s Reagent.
This is a two ampoule field test. After introducing a small amount of substance to
the test, break the 1st ampoule and agitate for 30 seconds. This agitation allows the
chemistry to dissolve the substance and properly prepare it for the color reaction of
the 2nd ampoule. Then break the 2nd ampoule, agitate the test and observe the color
change as you agitate. If the semi-synthetic substance of Heroin/ Morphine is present
a Green color will develop. This color MUST develop within 60 seconds of breaking
and agitating the 2nd ampoule.

Much of the Mexican Heroin we see today tends to be either Brown/Tan or Black Tar
substances. Due to the color resins in these substances, the Ist ampoule may create

a tan to brownish liquid. To guard against overpowering the field test with this dark
color, be careful to place very small quantities of the substance in the field test. Keep
in mind that the chemistry of the Mecke’s Reagent Modified is very sensitive and the
rule of “less is best” should be observed.

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If the 1st ampoule did develop a tan to brownish liquid, watch the 2nd ampoule
closely. After breakage and agitation the brownish color may overpower the Green
and make it difficult to see. To help clear the field for better color interpretation, turn
the test upside down and lightly tap the test. ‘This will send the liquid to the “new”
bottom of the test and thin the liquid at the “new” top. Look at the color adhering to
the glass shards. You should see the Green color adhering to these glass shards.

Now let's deal with field testing Fentanyl or acetyl-Fentanyl. These substances are
fully synthetic opiates which WILL NOT color react in the Mecke’s Reagent. If you
suspect Fentanyl, you would start with the Special Opiate Reagent and introduce

a small amount of substance to the test. Once you break and agitate the single
ampoule you will develop an immediate Yellow color in the presence of Fentanyl.

The most popular technical question I receive from officers is “How can we tell if
Fentanyl is present?” Unfortunately, we can only tell if Fentanyl is present if there
is NO semi-synthetic opiate present (Heroin/Morphine). Let’s look at the following
examples. In each of these instances we suspect Heroin is present:

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1. Heroin with no Fentanyl present: Start testing with the Mecke's Reagent. This
substance will color react Green with the semi-synthetic opiate of Heroin/
Morphine.

2. Heroin with Fentanyl cut into the substance: Start testing with the Mecke’s

Reagent. This combination of substances will color react Green due their being

the semi-synthetic substance of Heroin/Morphine. The presence of Fentany! will

be ignored since the chemistry does not recognize the fully synthetic substance.

3. Fentanyl with NO Heroin present: Start testing with the Mecke’s Reagent. Since
Fentanyl is a fully synthetic substance, it will not color react in the Mecke’s
Reagent. You would then proceed to the Special Opiate Reagent, place a small
sample in the test, break and agitate the ampoule. An immediate Yellow would
appear in the presence of the fully synthetic opiate of Fentanyl.

Due to the rising health threat of Fentanyl in the United States, we are currently
working on developing a specific field test designed to presumptively identify
Fentanyl only. We will keep you apprised of the development of this new test in
future issues of the NARK News.

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